Case 1:15-cv-07433-LAP Document 1137-6 Filed 10/22/20 Page 1 of 17




                  EXHIBIT 6
Case 1:15-cv-07433-LAP Document 1137-6 Filed 10/22/20 Page 2 of 17



                                                                                          Page l


      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK
                                                  -   -   -   -   -   -   -   -   -   X

      VIRGINIA L . GIUFFRE ,


                          Plaintiff ,
                                                                  Case No . :
              - aga i nst -                                       15 - cv-07433 - RWS


      GHISLAINE MAXWELL,


                          Defendants .


      -   -   -    -    - -   -   -   -   -   -   -   -   -   -   -   -   -   - - x


                                          **CONFIDENTIAL**


                          Vi deotaped deposition of GHISLAINE
                  MAXWELL, taken pursuant to subpoena , was
                  held at the law offices of BOIES
                  SCHILLER & FLEXNER, 575 Lexington
                  Avenue, New York, New York, commencing
                  April 22, 2016, 9:04 a.m., on the above
                  date , before Leslie Fagin, a Court
                  Reporter and Notary Publ i c in the State
                  of New York.



                          MAGNA LEGAL SERVICES
                   120 0 Avenue of the Americas
                       New York, New York 10026




                          MAGNA9              L EGAL SERVICES
Case 1:15-cv-07433-LAP Document 1137-6 Filed 10/22/20 Page 3 of 17



                                                                 Page 2
 1
 2    APPEARANCES:
 3
      BOIES SCHILLER & FLEXNER, LLP
 4    Attorneys for Plaintiff
                401 East Las Olas Boulevard
 5              Fort Lauderdatle , Florida, 33301
      BY:       SIGRID MCCAWLEY, ESQUIRE
 6              MEREDITH SCHULTZ, ESQUIRE
                EMMA ROSEN, PARALEGAL
 7
 8
      FARMER JAFFE WEISSING EDWARDS FISTOS &
 9    LEHRMAN, P . L.
                Attorneys for Plaintiff
10              425 N. Andrews Avenue
                Fort Lauderdale, Florida 33301
11    BY:       BRAD EDWARDS, ESQUIRE
12
13    PAUL G. CASSELL, ESQUIRE
      Attorneys for Plaintiff
14              383 South University Street
                Salt Lake City, Utah 84 112
15
16
     HADDON MORGAN FOREMAN
17   Attorneys for Defendant
               150 East 10th Avenu
18             Denver, Colorado 80203
     BY:       JEFFREYS. PAGLIUCA, ESQUIRE
19             LAURA A. MENNINGER, ESQUI RE
20
21   Also Present:
22       James Christe , videographer
23
24
25




                  MAGNA9     L EGAL SERVICES
Case 1:15-cv-07433-LAP Document 1137-6 Filed 10/22/20 Page 4 of 17



                                                               Page 52
 1                 G Maxwell - Confidential

 2    for sexual acts.

 3            Q.      I'm asking if they performed sexual

 4    acts?

 5                    MR. PAGLIUCA :   Object to the form

 6            and foundation.

 7            Q.      Did any of the massage therapists

 8    who were at the home perform sexual acts for

 9    Jeffrey Epstein?

10            A.      I don ' t know what you mean by

11    sexual acts.

12            Q.      Did any o f the massage therapists
13    who were working at the home perform sexual

14    acts, including touching the breasts,

15    touching the vaginal area, being touched

16    while Jeffrey is masturbating, having

17    intercourse, any of thos e things?

18                    MR. PAGLIUCA:    Objection.   Form and

19            foundation.

20                    To the extent any of this is asking

21            for to your knowl edge any consensual sex

22            act that may or may not have involved

23            you, I ' m instruct ing you not to answer

24            the question.

25            Q.      I'm not asking about consensual sex




                      MAGNA9    L EGAL S E RVICES
Case 1:15-cv-07433-LAP Document 1137-6 Filed 10/22/20 Page 5 of 17



                                                                 Page 53
 1                 G Maxwell - Confidential
 2    acts.        I ' m asking whether any of the massage
 3    therapists performed sexual acts for Mr.

 4    Epstein, as I have just described?

 5            A.      I have never seen anybody have

 6    sexual intercourse with with Jeffrey, ever.

 7            Q.      I ' m not asking about sexual

 8    intercourse.        I ' m asking about any sexual
 9    act , touching of the breast - - did you ever

10    see - - can you read back the question?
11                    (Record read.)

12            A.     I ' m not addressing any questions

13    about consensual adult sex.          If you want to

14    talk about what the subject matter, which is

15    defamation and lying, Virginia Roberts,         that

16    you and Virginia Roberts are participating in
17    perpetrating her lies, I 1 m happy to address

18    those .      I never saw any inappropriate
19    underage activities with Jeffrey ever.

20            Q.     I'm not asking about underage.       I 'm

21    asking about whether any of the masseuses

22    that were at the home perfor m sexual acts for

23    Jeffrey Epstein?

24          A.       I have just answered the question.
25          Q.       No, you haven't.




                     MAGNA9    L EGAL SERVICES
Case 1:15-cv-07433-LAP Document 1137-6 Filed 10/22/20 Page 6 of 17




                                                                  Page 54
 1               G Maxwell - Confidential
 2          A.      I have.

 3          Q.     No, you haven't .

 4          A.      Yes , I h ave.

 5          Q.     You are refusing to answer the

 6    question.

 7          A.     Let ' s move on.

 8          Q.      I 'm in charge of the deposition.         I

 9    say when we move on and when we don't .
10                  You are here to respond to my
11    questions.       If you are r efusing to answer the
12    court will bring you back for another

13    deposition to answer these questions.
14                  Do you understand that?

15                  MR. PAGLIUCA:     You don ' t need to

16          threaten the witness.

17                  MS. McCAWLEY:     I ' m not threatening

18          her.      I'm making sure the record is

19          clear .

20                  MR. PAGLIUCA :    Certainly can you

21          apply to have someone come back and the

22          court may or may not have her come back

23          again.
24                 Again, she is not answering

25          questions that relate to adult consent




                    MAGNA&     LEGAL SERVICES
Case 1:15-cv-07433-LAP Document 1137-6 Filed 10/22/20 Page 7 of 17




                                                               Page 55

 1                 G Maxwell - Confidential

 2            sex acts.       Period.   And that ' s the

 3            instruction and we can take it up with

 4            the court .

 5            Q.      Ms. Maxwell , are you aware of any

 6    sexual acts with masseuses and Jeffrey

 7    Epstein that were nonconsensual?

 8            A.      No.

 9            Q.      How do you know that?

10            A.      All the time that I have been in

11    the house I have never seen , heard, nor

12    witnessed, nor have reported to me that any
13    activities took place, that people were in
14    distress, either reported to me by the staff
15    or anyone else.          I base my answer based on

16    that.

17            Q.      Are you familiar wi th a person by

18    the name of

19            A.      I am.
20            Q.      Has                 given a statement

21    to police about you performing sexual acts on

22    her?

23            A.      I have not heard that.

24            Q.      Has                 given a statement

25    to police about Jeffrey Epstein performing




                      MAGNA9     LEGAL SERVICES
Case 1:15-cv-07433-LAP Document 1137-6 Filed 10/22/20 Page 8 of 17



                                                                       Page 64
 1                G Maxwell - Confidential

 2           Q.      Di d you have sex with her?

 3                   MR . PAGLIUCA:       Th is is the same

 4           instruction about consensual or

 5           nonconsensual.

 6           Q.      Was -        under the age of 18 when

 7    you hired her?

 8           A.      No.     I d i dn ' t hi r e h e r , as I said ,

 9    Jeffrey did.

10           Q.      Did          ever have sex wi th

11    Jeffrey?

12                   MR. PAGLIUCA:        Objection to the

13           form and f oundation.

14           A.      How woul d I know what somebody else

15    did.

16           Q.      You weren't involved in the sex

17    between Jeffrey,                and yourself?

18           A.      We already

19           Q.      Were you involved wi th sex between

20    Jeffrey , -          and yourself?

21                   MR. PAGLIUCA :       Everyone is t alking

22           over each other .         You heard the

23           question.

24                   Again , you you know what the

25           instruction is.          If there is any




                     MAGNA9        LEGAL SERVIC ES
Case 1:15-cv-07433-LAP Document 1137-6 Filed 10/22/20 Page 9 of 17




                                                               Page 65

 1               G Maxwell   - Confidential

 2          consensual issue involved,            I instruct

 3          you not to answer.

 4          A.     Moving on.

 5          Q.      So you are refusing to answer that

 6    question?

 7          A.      I ' ve been instructed by my lawyer.

 8          Q.      Did you ever have sex with Jeffrey ,

 9           Virginia and yourself when Virginia was

10    underage?

11          A.      Absolutely not.

12                  MR. PAGLIUCA:     We ' ve been going for

13          about an hour.       I would like to take a

14          five-minute break, please .

15                  MS. MCCAWLEY:      I'm almost done.

16                  MR. PAGLIUCA:     You are not going to

17          allow a break.

18                  MS. McCAWLEY:     As soon as I get

19          through my line of questioning, which is

20          perfectly appropriat e .

21          Q.      Did                 travel with you and

22    Jeffrey to Europe?

23          A.      I'm sure she did.

24          Q.      What is she doing today?

25          A.      I have no idea.




                    MAGNA9      L EGAL SERVICES
Case 1:15-cv-07433-LAP Document 1137-6 Filed 10/22/20 Page 10 of 17




                                                                     Page 82
 l               G Maxwell - Confidential

 2          Q.      Did you train Virginia on how to

 3    recruit other girls to perform sexual

 4    massages?

 5                  MR . PAGLIUCA:       Objection to the

 6          form and foundation.

 7          A.     No .    And it ' s absurd and her entire

 8    story is one giant tissue of lies and

 9    furthermore, she herself has                     if she says

10    that , you have to ask her about what she did.

11          Q.      Does Jeffrey like to have his

12    nipp l es pinched during sexual encounters?

13                  MR. PAGLIUCA:        Objection to form

14          and foundation.

15          A.      I ' m not referring to any advice on

16    my counsel.         I'm not talking about any adult

17    sexual things when I was with him.

18          Q.     When Jeffrey would have a massage,

19    would he request that the masseuse pinch his

20    nipples while he was having a massage?

21          A.      I ' m not talking about anything with

22    consensual adult situation.

23          Q.      What about with underage

24          A.      I am not aware of anything.

25          Q.      You are not aware of Jeffrey




                    MAGNA9      LEG AL S E R VIC E S
Case 1:15-cv-07433-LAP Document 1137-6 Filed 10/22/20 Page 11 of 17



                                                               Page 92
 1                 G Maxwell - Confidential

 2            Q.      In your responsibilities in working

 3    for Jeffrey, would you book massages for him

 4    on any given day so that he would have a

 5    massage scheduled?        Would you take a call for

 6    example and book a massage for him?

 7                    MR. PAGLIUCA:     Objection to the

 8            form and foundation.

 9            Q.      You can answer.

10            A.     Typically, that was not my

11    responsibility.        He would either book the

12    massage himself or one of his other

13    assistants would do that.

14            Q.      From time to t ime you had to do

15    that?

16                    MR. PAGLIUCA:     Objection to the

17            form and foundation.

18            A.      Like I said, typically it was

19    somebody else 1 s responsibility.

20            Q.      If you were unable to book a girl

21    for a massage on a given day , would that mean

22    that you were responsible for giving him a

23    sexual massage?

24                    MR. PAGLIUCA:     Objection to the

25            form and foundation and I instruct you




                      MAGNA9    L EGAL SERVIC E S
Case 1:15-cv-07433-LAP Document 1137-6 Filed 10/22/20 Page 12 of 17




                                                                Page 9 3

  1                G Maxwell   - Confidential

  2           not to answer any questions about any of

  3           your consensual adult sexua l activity.

 4            Q.      So you are not going to answer that

  5   question?

  6           A.      You just heard my counsel.

  7           Q.      Have you ever said to anybody that

  8   recruit i ng other girls to perform sexual

  9   massages for Jeffrey Epstein takes the

10    pressure off you?

11                    MR. PAGLI UCA:   Object to the form

12            and f oundation.

13            A.      Repea t the question and break it

14    out .

15            Q.      Have you ever said to anybody that

16    you recruit girls - -

17            A.      Stop right there.     I never

18    recruited girls,         let's stop there.   Now

19    breakdown the question.

20            Q.      Have you ever said to anybody --

21            A.      By girls , we are talking about

22    underage people -- you said girls, are you

23    talking about underage -- we are not talking

24    about consensual acts -- this is a defamation

25    suit.




                      MAGNA9     LEGAL SERVICES
Case 1:15-cv-07433-LAP Document 1137-6 Filed 10/22/20 Page 13 of 17




                                                               Page 13 7
  l                G Maxwell - Confidential

 2    the flights?

 3            A.      I can't reco llect h avi ng a meal

 4    with them , but just so we are c l ear, the

 5    allegations that                    had a meal on

 6    Jeffrey ' s island is 100 percent false.

 7            Q.      But he may have had a meal on

 8    Jeffrey's plane?

 9            A.      I ' m sure he had a meal on Jeffrey's

lO    plane.

11            Q.      You do know how many t i mes he flew

12    on Jeffrey's plane?

13            A.      I don't.

14            Q.      Do you know who                   i s?

lS            A.      I do.

l6            Q.      How do you know him?

l7            A.      He used to work or stil l works for

18

19            Q.      Did you ever have a relationship

20    with him?

21            A.      We are talking about adult

22    consensual relationships , it ' s off the

23    record .

24            Q.      I ' m not asking what you did with

25    him ,   I ' m asking if you ever had a




                      MAGNA&     LEGAL S E RV I C E S
Case 1:15-cv-07433-LAP Document 1137-6 Filed 10/22/20 Page 14 of 17



                                                               Page 138
 1                 G Maxwell - Confident ial
 2    relationshi p with him?
 3                    MR. PAGLIUCA:     If you understand

 4            the term relationship, certainly you can

 5            answer that.

 6            A.      Define relationship.

 7            Q.      Somebody that you would have spent

 8    time together, either seeing them in a
 9    romantic relationship or --
10            A.      You need to be , what do you mean by

11    romantic.        I was friends with ~         ut you
12    are suggesting something more so I want to be

13    clear what you are actually asking me.

14            Q.      You defined it.     You said you were
15    friends wi th him.       If that ' s what you were

16    that 1 s all I need to kn ow .

17                    While you were on the trip with

18                             do you recall where you

19    stayed at these locations, in other words,

20    would you leave the jet and stay overnight at

21    a hotel, do you have a recollection of this

22    trip?
23            A.      I recollect the trip but if you ' re
24    asking me where we stayed, you can see it ' s a
25    very fast paced trip.           It was very tiring and




                      MAGNA9    L EGAL SERV I CES
Case 1:15-cv-07433-LAP Document 1137-6 Filed 10/22/20 Page 15 of 17




                                                                Page 307
  1                G   Maxwell - Confidential
  2           form and foundation.

  3           A.        I don't know why the name is - - I' m
  4   sorry - - I        can't -- I have no idea.        I

  5   recognize the name but that's it.
  6           Q.       Was                       a masseuse ?

  7                    MR. PAGLIUCA:      Ob jection to the

  8           form and foundation .

  9           A.       What are you asking me, I'm sorry?

10            Q.       When                       worked for

11    Jeffrey Epstein, did she perform massages?

12            A.        I've testified that when

13    came originally, she came to answer

14    telephones.            I believe at some point she

15    became a masseuse.           I don ' t   recollect when

16    and I personally had massages from

17            Q.       What did                o for Jeffrey

18    Epstein, did she perform massages, anything

19    else?

20                     MR. PAGLIUCA:      Objection to the

21            form and foundation.

22            A.       When she came she answered phones

23    and at some point, I believe , I don't have

24    any firm recollection, but I believe she went

25    to school and became a masseuse and I had




                       MAGNA9      L EGAL SERVI CES
Case 1:15-cv-07433-LAP Document 1137-6 Filed 10/22/20 Page 16 of 17



                                                              Page 308
 1                G Maxwell - Confidential

 2    massages from her.

 3           Q.      Did you ever have any sexual
 4    interaction with h er?

 5                   MR. PAGLIUCA:   Object to the form

 6           and foundation and I'm going to instruct

 7           you if we're ta lking about any

 8           consensual adult contact, you are not

 9           allowed to answer the question .

10           Q.      Did you have any sexual contact

11    with her in the presence of Jeffrey Epstein?

12                   MR. PAGLIUCA:   Same instruction.

13           Q.      Did you have any sexual contact
14    with her in the presence of anybody other
15    than Jef frey Epstein?

16                   MR. PAGLIUCA:   Same instruction.

17           Q.      How many massages did you receive

18    from

19           A.      I really don 't recall but a fair

20    amount.
21           Q.      Did the massages involve sex?

22                   MR. PAGLIUCA:   I'm going to

23           instruct you not to answer.

24           Q.      Have you ever engaged in sex with

25    any female?




                     MAGNA9   LE GAL SERVICES
Case 1:15-cv-07433-LAP Document 1137-6 Filed 10/22/20 Page 17 of 17




                                                                Page 309
  1                G   Maxwell - Confidential

  2                     MR. PAGLIUCA:   I ' m go i ng to

  3           instruct you not to answer.

  4                    MS. McCAWLEY:    I want the record to

 5            reflect that Ms. Maxwell ' s attorney is

 6            d irecting her not to answer this series

 7            of questions .

 8                     MR. PAGLIUCA:    It definitely does.

  9           Q.       Were you responsible for

10    introducing                to Jeffrey Epstein?

11                      MR. PAGLIUCA:   Objection to the

12            form and foundation.

13            A.        I already testified that I don't

14    really recall

15            Q.        Were you responsible for

16    introduc i ng -             to Jeffrey Epstein?
17                      MR. PAGLIUCA:   Objection to the

18            form and foundation.

19            A.        Again, I don't like the

20    characterization of introduc tion .

21    came to answer telephones.

22            Q.        When did you - - were you the person

23    who brought or introduced or met                     or

24    purposes of bringing her to Jeffrey Epstein ' s

25    home?




                        MAGNA9   L EGAL SERVICES
